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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov


In re:
 OSCAR IZQUIERDO,                                  Case No. 17-22502-AJC
                                                   Chapter 7
        Debtor.
 _________________________/

                         TRUSTEE’S MOTION TO APPROVE
                   STIPULATION TO COMPROMISE CONTROVERSY

                Any interested party who fails to file and serve a written
                response to this Motion within 21 days after the date of service
                stated in this Motion shall, pursuant to Local Rule 9013-1(D), be
                deemed to have consented to the entry of an order in the form
                attached to this Motion. Any scheduled hearing may then be
                canceled.

         MARCIA T. DUNN, as Chapter 7 Trustee for the above-captioned bankruptcy estate (the

"Trustee"), pursuant to Federal Rule of Bankruptcy Procedure 9019 and Local Rule 9013-1(D),

files this Motion to Approve Stipulation to Compromise Controversy (the "Motion"), and in support

thereof, states as follows:

                                          Background

         1.     On October 16, 2017 (the Petition Date”), OSCAR IZQUIERDO (the “Debtor”),

commenced the instant bankruptcy case with the filing of a voluntary petition under Chapter 7,

Title 11 of the United States Bankruptcy Code. Marcia T. Dunn is the duly appointed Chapter 7

Trustee.

         2.     The Trustee has evaluated the Debtor’s assets, scheduled valuations, and claimed

exemptions and determined that the resolution agreed upon with the Debtor is in the best interests
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of the Estate. The details of the agreement are set forth in the Stipulation to Compromise

Controversy (the “Stipulation”), attached hereto as Exhibit “A.”

         3.       Pursuant to the terms of the Stipulation, the Debtor has agreed to pay, and the

Trustee has agreed to accept $2,700.00 (Two Thousand, Seven Hundred and 00/100 Dollars) (the

“Settlement Amount”)1, to be paid in one (1) lump sum payment on or before May 1, 2018.

         4.       The Stipulation contains additional terms and conditions, including, but not limited

to, default provisions.

                                       Legal Standard for Settlement

         5.       Bankruptcy Rule 9019(a) provides: “On motion . . . and after a hearing on notice to

creditors, the debtor . . . and to such other entities as the court may designate, the court may approve

a compromise or settlement.”2

         6.       As this Court has previously found, “approval of a settlement in a bankruptcy

proceeding is within the sound discretion of the Court, and will not be disturbed or modified on

appeal unless approval or disapproval is an abuse of discretion.” In re Arrow Air, Inc., 85 B.R.

886, 891 (Bankr. S.D. Fla. 1988) (Cristol, J.) (citing Rivercity v. Herpel (In re Jackson Brewing

Co.), 624 F.2d 599, 602-03 (5th Cir. 1980); Anaconda-Ericsson, Inc. v. Hessen (In re Teltronics

Servs., Inc.), 762 F.2d 185, 189 (2d Cir. 1985); In re Prudence Co., 98 F.2d 559 (2d Cir. 1938),

cert. denied sub nom. Stein v. McGrath, 306 U.S. 636 (1939)). 185, 189 (2d Cir. 1985); In re

Prudence Co., 98 F.2d 559 (2d Cir. 1938), cert. denied sub nom. Stein v. McGrath, 306 U.S. 636

(1939)).



1
  The settlement allocations are as follows: (a) $500.00 is allocated to the Household Goods; (b) $500.00 is allocated
to the Electronics; (c) $1,000.00 is allocated to the Accident Claim; and; (d) $700.00 is allocated the Tax Refund.
2
  Rule 9013-1(D) of the Local Bankruptcy Rules for the Bankruptcy Court for Southern District of Florida permits,
inter alia, relief without a hearing for motions to approve settlement.
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       7.       The test is whether the proposed settlement “falls below the ‘lowest point in the

range of reasonableness.’” Arrow Air, 85 Bankr. 891 (quoting Teltronics Servs., 762 F.2d 189;

Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir.), cert. denied, 464 U.S. 822

(1983)).

       8.       According to the United States Eleventh Circuit Court of Appeals, when a

bankruptcy court decides whether to approve or disapprove a proposed settlement, it must

consider:

             a. the probability of success in the litigation;

             b. the difficulties, if any, to be encountered in the matter of collection;

             c. the complexity of the litigation involved, and the expense, inconvenience and delay
                necessarily attending it; and

             d. the paramount interest of the creditors and a proper deference to their reasonable
                views in the premises.

Wallis v. Justice Oaks II, Ltd. (In re Justice Oaks II. Ltd.), 898 F.2d 1544 (11th Cir. 1990). See

Jackson Brewing, 624 F.2d 602, quoted in Arrow Air, 85 B.R. 891.

       9.       The Trustee believes that the proposed settlement meets the standards set forth in

In re Justice Oaks II, and therefore, recommends approval of the settlement because it is fair and

reasonable, falls within the reasonable range of possible litigation outcomes, and is in the best

interest of the Estate because full settlement precludes any risks associated with litigation and

collection in this matter, increases the dividend available to creditors, and allows for a distribution

of sums and proceeds within a reasonable time.

       10.      Pursuant to Local Rule 9013-1(D), a copy of the proposed Order is attached hereto

as Exhibit "B."
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       WHEREFORE, Marcia T. Dunn, as Chapter 7 Trustee of the Bankruptcy Estate of Oscar

Izquierdo, respectfully requests this Honorable Court enter an Order: (1) granting the instant

Motion; (2) approving the Stipulation; and (3) granting such other and further relief as this Court

deems just and proper.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished on

March 30, 2018, to the parties who are currently on the list to receive e-mail notice/service for this

case, and via U.S. Mail to all interested parties on the attached service list.

                                               Respectfully submitted,

                                               DUNN LAW, P.A.
                                               Counsel for Marcia T. Dunn, Chapter 7 Trustee
                                               555 Northeast 15th Street
                                               Suite 934-A
                                               Miami, Florida 33132-1451
                                               Tel: 786-433-3866
                                               Fax: 786-260-0269
                                               michael.dunn@dunnlawpa.com

                                               By: /s/ Michael P. Dunn Esq.
                                                   Michael P. Dunn, Esq.
                                                   FL Bar No. 100705
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                                              Cab East LLCDoc 40                Filed 03/30/18      PageOceanside
                                                                                                          5 of 6 Mortgage
113C-1                                               c/o Gerard M. Kouri, Jr., Esq.                       500 South Broad St Suite #100A
Case 17-22502-AJC                                    5311 King Arthur Avenue                              Meriden, CT 06450-6755
Southern District of Florida                         Davie, FL 33331-3340
Miami
Fri Mar 30 12:21:56 EDT 2018
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c/o Rachel L Ahlum                                   PO Box 619001                                        100 S West St
3575 Piedmont Rd, N.E. #500                          MD 2100                                              Wilmington, DE 19801-5015
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Attn: Bankruptcy                                     Citicorp Credit Svc/Centralized Bankrupt             Discover Products Inc
PO Box 30253                                         PO Box 790040                                        PO Box 3025
Salt Lake City, UT 84130-0253                        Saint Louis, MO 63179-0040                           New Albany, OH 43054-3025


Discover Financial                                   Fannie Mae Mortgage Loan Company                     Freddie Mac Mortgage Loan Company
PO Box 3025                                          c/o Timothy J. Mayopoulos, CEO                       c/o Donald H. Layton, CEO
New Albany, OH 43054-3025                            3900 Wisconsin Avenue, NW                            8200 Jones Branch Dr.
                                                     Washington, DC 20016-2892                            McLean, VA 22102-3110


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Attorney General of the United States                US Attorney for Southern District                    Centralized Insolvency Operation
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Washington, DC 20530-0009

JC Penney/Gemb (verified)                            Lending Club Corp                                    Macy’s (verified)
Attn: Bky                                            71 Stevenson St                                      Attn: Bky
POB 103104                                           Suite 300                                            POB 8053
Roswell, GA 30076-9104                               San Francisco, CA 94105-2985                         Mason, OH 45040-8053


Oceanside Mortgage Co                                Office of the US Trustee                             Real Time Resolutions
425 Phillips Bv                                      51 S.W. 1st Ave.                                     Attn: Bankruptcy
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                                                     Miami, FL 33130-1614                                 Dallas, TX 75235-1655


Villas of Madeira HOA, Inc                           Walmart/Gemb (verified)                              Marcia T Dunn
13250 SW 135th Ave                                   Attn: Bky                                            555 NE 15 St, Ste 934-A
Miami, FL 33186-6489                                 POB 103104                                           Miami, FL 33132-1465
                                                     Roswell, GA 30076-9104


Oscar Izquierdo                                      Patrick L Cordero Esq
635 SW 93 Ct                                         7333 Coral Way
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